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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )        Case No. 06-20118-05-JWL
                                                  )        Civil Case No: 08-2593-JWL
ASHLEY DIVINE,                                    )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Ashley Divine filed a Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence (Doc. 145), raising an ineffective assistance of counsel claim

and a claim of prosecutorial misconduct. In response, the Government filed a Motion to

Enforce Waiver of Collateral Attack (Doc. 161), asking this court to dismiss Ms. Divine’s

§ 2255 petition pursuant to the terms of her plea agreement, which included a waiver of

her right to collaterally attack her sentence, except as limited by United States v.

Cockerham, 237 F.3d 1179 (10th Cir. 2001).

       In response, Ms. Divine filed a “Motion to Amend Appeal Collaterally Attacking

Government” (Doc. 169). In that document, she acknowledges the waiver included in her

plea agreement, noting that she forgot about that commitment but that she is willing to

adhere to the agreement. She reiterated, however, that the plea agreement waiver does

not foreclose ineffective assistance of counsel claims. Thus, she asks this court to amend
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her § 2255 petition, and she expounds on the ineffective assistance claim she previously

raised. Specifically, she asserts that her attorney was ineffective for failing to allow her

to speak in court. She contends that she wanted to request that her sentence be run

concurrently, but that her attorney violated her “rights of allocution” and told her “not to

speak” on her own behalf.

        For the reasons set forth below, the Government’s motion to enforce is granted and

Ms. Divine’s collateral attacks are dismissed.

                                     DISCUSSION

        The court will hold a defendant and the government to the terms of a lawful plea

agreement. United States v. Arevalo-Jimenez, 372 F.3d 1204, 1207 (10th Cir. 2004);

United States v. Atterberry, 144 F.3d 1299, 1300 (10th Cir. 1998). Thus, a knowing and

voluntary waiver of § 2255 rights in a plea agreement is generally enforceable. United

States v. Cockerham, 237 F.3d 1179, 1181 (10th Cir. 2001). The Tenth Circuit has

adopted a three-pronged analysis for evaluating the enforceability of such a waiver in

which the court must determine: (1) whether the disputed issue falls within the scope of

the waiver, (2) whether the defendant knowingly and voluntarily waived the rights, and

(3) whether enforcing the waiver would result in a miscarriage of justice. See United

States v. Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004) (en banc) (per curiam).

1.      Scope of the Waiver

        In determining whether the disputed issue falls within the scope of the waiver, the

court begins with the plain language of the plea agreement. United States v. Anderson,

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374 F.3d 955, 957 (10th Cir. 2004); Hahn, 359 F.3d at 1328. The provision in the plea

agreement by which Ms. Divine waived her right to challenge her sentence through

collateral attack states as follows:

        Defendant knowingly and voluntarily waives any right to appeal or
        collaterally attack any matter in connection with this prosecution,
        conviction and sentence. The defendant is aware that Title 18, U.S.C. §
        3742 affords a defendant the right to appeal the conviction and sentence
        imposed. By entering into this agreement, the defendant knowingly waives
        any right to appeal a sentence imposed which is within the guideline range
        determined appropriate by the court. The defendant also waives any right
        to challenge a sentence or manner in which it was determined in any
        collateral attack, including, but not limited to, a motion brought under Title
        28, U.S.C. § 2255 [except as limited by United States v. Cockerham, 237
        F.3d 1179, 1187 (10th Cir. 2001)], a motion brought under Title 18, U.S.C.
        § 3582(c)(2) and a motion brought under Fed. Rule of Civ. Pro. 60(b). In
        other words, the defendant waives the right to appeal the sentence imposed
        in this case except to the extent, if any, the court departs upwards from the
        applicable sentencing guideline range determined by the court.

The plea agreement is construed “according to contract principles and what the defendant

reasonably understood when he entered his plea.” Arevalo-Jimenez, 372 F.3d at 1206

(internal quotation and citations omitted). The court strictly construes the waiver and

resolves any ambiguities against the government and in favor of the defendant. Hahn,

359 F.3d at 1343.

        Bearing these principles in mind, Ms. Divine clearly waived the right to challenge

her attorney’s performance at the sentencing hearing. Specifically, her claim that her

attorney should have allowed her to speak on her behalf to have her sentenced imposed

concurrently falls within the scope of her waiver.

2.      Knowing and Voluntary

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       In assessing the voluntariness of a defendant’s waiver, the court looks primarily

to two factors–whether the language of the plea agreement states that the defendant

entered the plea agreement knowingly and voluntarily and whether there was an adequate

Rule 11 colloquy. See United States v. Smith, 500 F.3d 1206, 1210-11 (10th Cir. 2007).

       Both conditions are satisfied here. Paragraph 13 of Ms. Divine’s plea agreement

expressly states that she “knowingly and voluntarily waives any right to appeal or

collaterally attack any matter in connection with this prosecution, conviction and

sentence.” See United States v. Leon, 476 F.3d 829, 834 (10th Cir. 2007) (concluding that

a defendant did not meet the burden of showing that the waiver was unknowing and

involuntary in part because plea agreement contained broad waiver that defendant

“knowingly and voluntarily waives any right to appeal or collaterally attack any matter

in connection with this prosecution, conviction and sentence”).

       In addition, the court, during its Rule 11 colloquy with Ms. Divine, specifically

discussed that she had waived her right to challenge her sentence through a § 2255

motion. Ms. Divine assured the court that she understood the nature of § 2255 claims,

that she understood that she had waived her right to assert such claims, and that she was

entirely willing to do so. See id. (finding that defendant did not meet the burden of

showing that the waiver was unknowing and involuntary in part because defendant

testified at the plea colloquy that he was competently, knowingly, freely and voluntarily

entering his plea and waiving his constitutional rights, including his right to appeal)

(citing Blackledge v. Allison, 431 U.S. 63, 74 (1977) (“Solemn declarations in open court

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[affirming a plea agreement] carry a strong presumption of verity. The subsequent

presentation of conclusory allegations unsupported by specifics is subject to summary

dismissal, as are contentions that in the face of the record are wholly incredible.”)).

3.      Miscarriage of Justice

        Enforcing a waiver results in a miscarriage of justice only if (1) the district court

relied on an impermissible factor such as race, (2) the defendant received ineffective

assistance of counsel in conjunction with the negotiation of the waiver, (3) the sentence

exceeds the statutory maximum, or (4) the waiver is otherwise unlawful in the sense that

it suffers from error that seriously affects the fairness, integrity, or public reputation of

judicial proceedings. Hahn, 359 F.3d at 1327.

        Ms. Divine does not raise any claim that would fall into one of the four situations

described by Hahn. The ineffective assistance claim she has raised does not impact the

negotiation of the plea agreement or waiver. Thus, the court is satisfied that enforcing

the waiver would not result in a miscarriage of justice.

4.      Conclusion

        Having concluded that the waiver contained in Ms. Divine’s plea agreement was

knowing and voluntary and that enforcing it will not result in a miscarriage of justice, the

court grants the government’s motion to enforce and dismisses Ms. Divine’s claims of

ineffective assistance at sentencing.



        IT IS THEREFORE ORDERED BY THE COURT that the Government’s

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Motion to Enforce Waiver of Collateral Attack (Doc. 161) is granted. Ms. Divine’s

Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence (Doc. 145) is

dismissed.



      IT IS SO ORDERED this 29th day of April, 2009.


                                 s/ John W. Lungstrum
                                 John W. Lungstrum
                                 United States District Judge




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